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    Exhibit 135
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May    5    2017


VIA   UPS OVERNIGHT AND ELECTRONIC MAIL
Atlas Air        Inc Crewmembers System Board                          of Adjustment

co    Jeff Carlson                                                    co    Robert Kirchner

Vice   President Flight Operations                                    Executive      Council Chairman

Atlas Air        Inc                                                  APA Teamsters         Local 1224

2000 Westchester            Ave                                       2754 Old State Rt 73
Purchase         NY    10577                                          Wilmington       OH   45177


RE         SUBMISSION             TO THE ATLAS                 AIR    SYSTEM BOARD OF ADJUSTMENT
           Grievance       No AAI 2017 004

Gentlemen


Pursuant         to Section      20 B3     and           21 C2    of the Collective       Bargaining Agreement

“ CBA”          between    Atlas Air Inc and the International                      Brotherhood       of   Teamsters
Airline Division          the Union hereby submits the above                        captioned    grievance      to the

Atlas Air        Inc System Board              of   Adjustment


1          Question        s at    Issue


           Whether        the   Company             is   violating    CBA   Sections     5E     Appendix      5A   and
           other relevant          provisions            by   not providing     hot meals to        Crewmembers
           during duty periods            in   which the cumulative             block    time meets or exceeds

           four      hours but no       single       leg   meets or exceeds         four block   hours


2          Statement of Facts


           The Company             is   not providing hot             meals   to    Crewmembers            during duty

           periods where the cumulative                       block   time meets or exceeds         four hours but

           no    single leg     meets or exceeds               four block    hours


3          Position of the          Union


           It   is   the Union’s    position that the            Company       is   violating   CBA   Sections     5E
           Appendix        5 A and      other relevant provisions by not providing hot meals to

           Crewmembers             during duty periods where the cumulative                      block time meets
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         or exceeds      four   hours even    if   no   single leg        meets or exceeds            four block

         hours The Union’s         position is stated         in   the grievance       a copy of which           is

         attached   as   Exhibit   A

4        Position of     Company

         The presumed       position of the        Company         is   set forth in its   Step 2 Decision
         on   the grievance dated       May   4    2017 and             attached   as Exhibit     B

5        The   relief   sought


         Cease and desist Comply with the                CBA       by providing hot meal              catering   to

         Crewmembers        assigned     to duty periods           where the cumulative               block   time

         meets or exceeds        four   hours even       if   no   single    leg   meets or exceeds           four

         block hours     Make    affected   Crewmembers whole                  All   other   relief   that is just

         and proper




Respectfully    Submitted




Paul   R   Rutter

General Counsel

APA Teamsters       Local 1224

2754 Old State Route 73
Wilmington Ohio 45177




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                           ENCLOSURES


             Exhibit   A   Grievance   Factsheet

                           AAI 2017 004 Group

             Exhibit   B   Step 2 Decision
                           May   4   2017




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I   N T   E   R N AT          I   ONA           L        B    R OT HER HOOD                                           O F       T E A          M    S T E R S




                                                              Grievance Fact Sheet


                                               Employer         Atlas    Air Inc



                                  Name   of   Grievant   s      Atlas Pilots



                                   Grievance     Number         AAI 2017 004
                                   Assigned    by Union



              Facts   upon which Grievance      is   based      The Company          is   not consistently providing hot meal catering                for


                                                                duty periods with block times of greater than 4 hours This has

                                                                been most prevalent on the                    ONT DFW ABE      route CBA       5E
                                                                states   that catering          will   be provided    in   accordance   with

                                                                Appendix     5A     of    the CBA and the Company's Ground Operations

                                                                Manual      GAM           The   GAM     clearly states     that the times in the

                                                                flight   time matrix include            duty periods where the cumulative

                                                                flight   time exceeds the times               shown




               Applicable Sections   of   the Collective        5E
                 Bargaining   Agreement which have

                                         been violated



                                  The Remedy Sought             Immediately begin providing hot meal catering                      to


                                                                crewmembers          flying      more than 4 block hours         in   a single duty

                                                                period



                                                 Filed   By     Zach Pratt

                                                                APA Teamsters            Local   1224




              Air l ine    Professionals Associat ion       Teamsters Local Union No 1224
               2754 Old    State Route 73 Wilmington OH 45177 ph 937.383.2500 fx 937.383.0902
                                                                    www apa1224 org
                                              Affiliated with   the International    Brotherhood         of   Teamsters


                                                                                                                                                    Exhibit   A
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May     4    2017



VIA EMAIL            AND CERTIFIED MAIL

Captain Kevin            McCabe
Teamsters Union Local 1224
2754 Old State Road 73

Wilmington          OH      45177


            RE     Step 2 Decision               –Grievance           AAI 2017 004

Dear Captain         McCabe



abovereferenced
This     letter   constitutes

                  grievance

telephonically on April
                                         Atlas    Air
                                        “ Grievance”
                                              24 2017
                                                          Inc.’   s    “ Atlas”
                                                                The Step 2
                                                             In attendance
                                                                                        or    the

                                                                                         hearing
                                                                                                    “ Company”

                                                                                                      “ Hearing”
                                                                                    from the Company were
                                                                                                                          Step

                                                                                                                            for this

                                                                                                                                Jeff
                                                                                                                                     2 decision

                                                                                                                                              Grievance
                                                                                                                                                         in    the



                                                                                                                                           Carlson Scott Lindsay
                                                                                                                                                                was     held



Jenn     Chernichaw               Esq         and David Burgett               Kevin           McCabe        John        Hutelin        Matt     Sturgess        and     Paul

Rutter       Esq    participated              on behalf of International Brotherhood                          of Teamsters Airline Division                            Local

1224     “ Union”

The Union’s Grievance                     alleges      the   Company          violated         Section      5E     of the       Atlas Collective               Bargaining

Agreement          “ CBA”              because    it   “ is not consistently                 providing      hot meal catering                for duty periods           with

block    times greater than               four hours.”         To     support     its   argument the Union                 cites     Appendix       5A        of the   CBA
and    the    Company’s                Ground      Operations          Manual           “ GAM”            Table     4.1.5        contending         that       the     GAM
“ clearly states that the times in the flight                          time matrix include                duty periods where the cumulative                            flight

time exceeds        the times shown.”



The Company              has carefully reviewed                 the Union’s             position Appendix               5A      of the       CBA   and Table 4.1.5

of the    GAM       both clearly establish the standard for determining meal service                                             is   based on the block hours
for each      flight      Section         2 of the      CBA         provides        “‘ Block        Hours’ means the period                      from the time the

aircraft     blocks out until the aircraft blocks in again Block in shall be the                                           moment            than an aircraft        comes
to    complete      rest    in the blocks              Block    out shall be the time                 when an           aircraft’s         brakes are released and

push back or        taxi     begins.”          Block    hours and Block             time are synonymous                   terms and are not and have                     not

been     treated as       cumulative            segments by the            Company             If   Appendix       5 A and           the    GAM    were intended           to

be interpreted       as the Union asserts the term “ Trip Pairing” would be used                                             in lieu        of “ Block Time.” Trip

Pairing is defined                in    the   CBA      as “ one       or more      consecutive            Duty Days and                the    specific        assignments

associated        with such Duty Days Except as otherwise                                    set forth in the      CBA       a   ‘   Trip Pairing’ begins              when
a   Crewmember            first    reports for duty and ends                when        the    Crewmember is             released into a          Day s         Off.”



In addition         the    Company’s             long standing             past   practice          has   been     to   treat    each        legsegment of a             trip


separately        for purposes of calculating                     block     hours and determining                  when      a hot meal is required                    under
the    GAM        and     Appendix              5A     Except         on   rare    occasions          for unique          circumstances             if    a     respective

legsegment          is    not      at    least   4 hours        then       the    Company            does    not    provide          a hot      meal      for that      trip

regardless of the aggregate amount of legs a                               Crewmember may be                  flying that        day



                                                                                                                                                                Exhibit     B
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Consequently the Company disagrees with the Union’s position and denies the Grievance



Sincerely




Jeff   Carlson

Sr   Vice President Flight Operations



cc        Scott Lindsay   Atlas Staff   VP   Flight Operations

          Jennifer   Chernichaw Atlas   Sr   Employment and Labor Counsel

          David Burgett Atlas

          John Hutelin IBT

          Paul Rutter   Esq   IBT
